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                                       EXHIBIT A

                                    PROPOSED ORDER




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

         In re:                                                      Chapter 11

         WOODBRIDGE GROUP OF COMPANIES,                              Case No. 17-12560 (KJC)
         LLC, et al.,1
                                                                     (Jointly Administered)
                  Debtors.
                                                                     Ref. Docket Nos.



                ORDER (I) AUTHORIZING THE SALE OF 376 CRYSTAL CANYON DRIVE,
             CARBONDALE, COLORADO PROPERTY OWNED BY THE DEBTORS FREE AND
                CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS;
              (II) APPROVING RELATED PURCHASE AGREEMENT; AND (III) GRANTING
                                      RELATED RELIEF

                  Upon the motion (the “Motion”)2 filed by the above-captioned debtors and debtors in

         possession (collectively, the “Debtors”) in these chapter 11 cases (the “Chapter 11 Cases”) for

         entry of an order (i) authorizing the sale (the “Sale”) of certain real property owned by the

         Debtor Sachs Bridge Investments, LLC (the “Seller”) located at 376 Crystal Canyon Drive,

         Colorado 81623 (the “Land”), together with Seller’s right, title, and interest in and to the

         buildings located thereon and any other improvements and fixtures located thereon (collectively,

         the “Improvements” and together with the Land, the “Real Property”), and any and all of the

         Seller’s right, title, and interest in and to the tangible personal property and equipment listed in

         the Purchase Agreement and remaining on the Real Property as of the date of the closing of the

         Sale (collectively, the “Personal Property” and, together with the Real Property, the “Property”)


         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Blvd #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.
         2
                  Capitalized terms used but not defined herein have the meaning assigned to such terms in the Motion.
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         on an “as is, where is” basis, free and clear of any and all liens, claims, encumbrances, and other

         interests to Jan Silfverskiold (together with any assignee, the “Purchaser”) pursuant to the terms

         and conditions of that certain Contract to Buy and Sell Real Estate dated as of October 13, 2018

         (as may be amended, supplemented, or otherwise modified from time to time, the “Purchase

         Agreement”) by and between the Seller and the Purchaser, a copy of which is attached as Exhibit

         1 hereto; (ii) authorizing and approving the terms of the Purchase Agreement, and (iii) granting

         certain related relief; and the Court having jurisdiction to consider the Motion and the relief

         requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and the Court having found

         that the legal and factual bases set forth in the Motion and the Declaration of Bradley D. Sharp

         in Support of Debtors’ Motion to Sell 376 Crystal Canyon Drive, Carbondale, Colorado

         Property establish good and sufficient cause for granting the Motion; and it appearing that the

         relief requested in the Motion is appropriate in the context of these Chapter 11 Cases and in the

         best interests of the Debtors and their respective estates, their creditors, and all other parties-in-

         interest; and it appearing that notice of the Motion was adequate and proper under the

         circumstances of these Chapter 11 Cases, and that no other or further notice need be given; and

         after due deliberation and sufficient cause appearing therefor,

                 IT IS HEREBY ORDERED THAT:

                 1.      The Motion is GRANTED as set forth herein.

                 2.      The Purchase Agreement is authorized and approved in its entirety.

                 3.      Pursuant to sections 105 and 363 of the Bankruptcy Code, the Debtors are

         authorized, in their discretion and in the exercise of their business judgment, to sell the Property

         pursuant to the Purchase Agreement free and clear of all liens, claims, interests, and

         encumbrances, to perform all obligations under the Purchase Agreement (including payment of


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         the Broker Fee and the Other Closing Costs out of the proceeds of the Sale), and to take any

         other reasonable actions that may be necessary in the Debtors’ good faith business judgment to

         effectuate closing of the Sale, and that any actions taken by the Debtors necessary or desirable to

         consummate such transactions prior to the entry of this Order are hereby ratified.

                4.      The Debtors and any intermediary financial institution, title company, and closing

         attorney participating in the closings of the Sale are authorized to transfer title and deed property,

         and take any other actions as may be necessary to transfer ownership of the Property to the

         Purchaser.

                5.      All persons and entities holding liens, claims, interests or encumbrances with

         respect to the Property are hereby barred from asserting such liens, claims, interests or

         encumbrances against the Purchaser, its successors or assigns, or the Property.

                6.      All proceeds of the Sale (net of the Broker Fee and Other Closing Costs) shall be

         paid to the Debtors into the general account of Debtor Woodbridge Group of Companies, LLC,

         and such net proceeds shall be disbursed and otherwise treated by the Debtors in accordance with

         the Final Order on Debtors’ Motion for Entry of Interim and Final Orders (I) Pursuant to

         11 U.S.C. §§ 105, 361, 362, 363, 364, 507, and 552 Authorizing Debtors to (A) Obtain

         Postpetition Secured Financing, (B) Use Cash Collateral, (C) Grant Adequate Protection to

         Prepetition Secured Parties; (II) Modifying the Automatic Stay; (III) Scheduling a Final Hearing

         Pursuant to Bankruptcy Rules 4001(b) and 4001(c); and (IV) Granting Related Relief [D.I. 724]

         (the “Final DIP Order”).

                7.      The Debtors are authorized and empowered to pay the Broker Fee to Sotheby’s

         out of the sale proceeds in an amount up to 5% of the gross Sale proceeds.




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                8.      The Purchase Agreement is undertaken by the Debtors and Purchaser in good

         faith and that, pursuant to section 363(m) of the Bankruptcy Code, the reversal or modification

         on appeal of any sale consummated pursuant to the terms of this Order shall not affect the

         validity of such sale unless such sale was stayed pending appeal.

                9.      Filing of a copy of this Order in the county in which the Property is situated may

         be relied upon by all title insurers in order to issue title insurance policies on the Property.

                10.     Any title insurer, escrow agent, or other intermediary participating in a closing of

         the Sale of the Property is authorized to disburse all funds at the closing of the Sale pursuant to

         the applicable settlement statement or escrow instructions provided by the parties to such Sale.

                11.     The Debtors shall be authorized and empowered to take any necessary actions to

         implement and effectuate the terms of this Order.

                12.     The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry notwithstanding any applicability of Bankruptcy Rule 6004(h).

                13.     The terms and provisions of this Order and any actions taken pursuant hereto shall

         (i) survive entry of any order converting the Debtors’ cases to chapter 7 or dismissing the

         Debtors’ cases (or any of them), and (ii) continue in this or any superseding case under the

         Bankruptcy Code of any of the Debtors.

                14.     The provisions of this Order shall be binding upon the Debtors and their

         successors and assigns, including, without limitation, any trustee or other fiduciary hereafter

         appointed as legal representative of the Debtors or with respect to property of the estates of the

         Debtors, whether under chapter 11 of the Bankruptcy Code, any confirmed plan, or any

         subsequent chapter 7 case.




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                15.     Notice of the Motion as provided therein shall be deemed good and sufficient

         notice of such motion and to have satisfied Bankruptcy Rule 6004(a).

                16.     This Court shall retain jurisdiction and power with respect to all matters arising

         from or related to the interpretation and implementation of this Order.



         Dated: ____________________, 2018
                Wilmington, Delaware

                                                          KEVIN J. CAREY
                                                          UNITED STATES BANKRUPTCY JUDGE




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                                         Exhibit 1

                                    Purchase Agreement




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1
2                                      Aspen Snowmass Sotheby`s
3                                      Laura Gee Laura.Gee@SothebysRealty.com;
4
5
                                       raleigh.vos@sothebysrealty.com
6                                      Ph: 970-948-8568
7
     The printed portions of this form, except differentiated additions, have been approved by the Colorado Real Estate Commission.
8
     (CBS4-6-15) (Mandatory 1-16)
9
10
11   THIS FORM HAS IMPORTANT LEGAL CONSEQUENCES AND THE PARTIES SHOULD CONSULT LEGAL
12   AND TAX OR OTHER COUNSEL BEFORE SIGNING.
13
14
15                                     CONTRACT TO BUY AND SELL REAL ESTATE
16                                                        (LAND)
17
18                                            ( Property with No Residences)
19                             (   Property with Residences-Residential Addendum Attached)
20
21
22                                                                                                            Date: 10/13/2018
23
24
                                                             AGREEMENT
25
26
27
28
29   1.      AGREEMENT. Buyer agrees to buy and Seller agrees to sell, the Property described below on the terms
30   and conditions set forth in this contract (Contract).
31
32
33   2.     PARTIES AND PROPERTY.
34          2.1. Buyer. Buyer, Jan Silfverskiold , will take title to the Property described below as
35
36       Joint Tenants       Tenants In Common         Other .
37          2.2. No Assignability. This Contract Is Not assignable by Buyer unless otherwise specified in Additional
38   Provisions.
39
40
            2.3. Seller. Seller, Sachs Bridge Investments LLC , is the current owner of the Property described
41   below.
42          2.4. Property. The Property is the following legally described real estate in the County of
43   Garfield, Colorado:
44
45   Subdivision: RIVER VALLEY RANCH PH 7 Block: Z Lot: 20, Section: 10, Township: 8, Range: 88
46   known as No. 376 Crystal Canyon Drive, Carbondale, CO 81623,
47   together with the interests, easements, rights, benefits, improvements and attached fixtures appurtenant thereto,
48
49
     and all interest of Seller in vacated streets and alleys adjacent thereto, except as herein excluded (Property).
50
51            2.5. Inclusions. The Purchase Price includes the following items (Inclusions):
52                 2.5.1. Inclusions. The following items, whether fixtures or personal property, are included in the
53
     Purchase Price unless excluded under Exclusions:
54
55   If any additional items are attached to the Property after the date of this Contract, such additional items are also
56   included in the Purchase Price.
57                 2.5.2. Personal Property - Conveyance. Any personal property must be conveyed at Closing by
58
59
     Seller free and clear of all taxes (except personal property taxes for the year of Closing), liens and encumbrances,
60   except .
61   Conveyance of all personal property will be by bill of sale or other applicable legal instrument.
62
63
               2.6.     Exclusions. The following items are excluded (Exclusions):
64
65             2.7.    Water Rights, Well Rights, Water and Sewer Taps.
66
67                     2.7.1. Deeded Water Rights. The following legally described water rights:
68
69   Any deeded water rights will be conveyed by a good and sufficient deed at Closing.
70
71                       2.7.2. Other Rights Relating to Water. The following rights relating to water not included in §§
72   2.7.1, 2.7.3, 2.7.4 and 2.7.5, will be transferred to Buyer at Closing:
73
74
                         2.7.3. Well Rights. Seller agrees to supply required information to Buyer about the well. Buyer
75   understands that if the well to be transferred is a “Small Capacity Well” or a “Domestic Exempt Water Well,” used
76   for ordinary household purposes, Buyer must, prior to or at Closing, complete a Change in Ownership form for the
77   well. If an existing well has not been registered with the Colorado Division of Water Resources in the Department
78
     of Natural Resources (Division), Buyer must complete a registration of existing well form for the well and pay the
79
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80    cost of registration. If no person will be providing a closing service in connection with the transaction, Buyer must
81
82    file the form with the Division within sixty days after Closing. The Well Permit # is .
83                       2.7.4. Water Stock Certificates. The water stock certificates to be transferred at Closing are as
84    follows:
85
86                       2.7.5. Water and Sewer Taps. The parties agree that water and sewer taps listed below for the
87    Property are being conveyed as part of the Purchase Price as follows: Certificate of Assignment of Pre-Paid
88    Tap Fee for one EQR of sanitary sewer service and one EQR of water service.
89
90
      If any water or sewer taps are included in the sale, Buyer is advised to obtain, from the provider, written
91    confirmation of the amount remaining to be paid, if any, time and other restrictions for transfer and use of
92    the taps.
93                     2.7.6. Conveyance. If Buyer is to receive any rights to water pursuant to § 2.7.2 (Other Rights
94
      Relating to Water), § 2.7.3 (Well Rights), or § 2.7.4 (Water Stock Certificates), Seller agrees to convey such rights
95
96    to Buyer by executing the applicable legal instrument at Closing.
97             2.8. Growing Crops. With respect to growing crops, Seller and Buyer agree as follows:
98
99
100   3.        DATES AND DEADLINES.
101
102
103
       Item No. Reference                               Event                                   Date or Deadline
104                                                                                         3 Business Days
105        1           4.3         Alternative Earnest Money Deadline
                                                                                               After MEC
106
107                           Title
108        2           8.1         Record Title Deadline                                   7 Days After MEC
109
110        3           8.2         Record Title Objection Deadline                         21 Days After MEC
111        4           8.3         Off-Record Title Deadline                               7 Days After MEC
112
113
           5           8.3         Off-Record Title Objection Deadline                     21 Days After MEC
114        6           8.4         Title Resolution Deadline                               23 Days After MEC
115        7           8.6         Right of First Refusal Deadline
116
117                           Owners’ Association
118        8           7.3         Association Documents Deadline                          7 Days After MEC
119
120        9           7.4         Association Documents Objection Deadline                21 Days After MEC
121                           Seller's Property Disclosure
122
123        10         10.1         Seller's Property Disclosure Deadline
124                           Loan and Credit
125
126        11          5.1         Loan Application Deadline
127        12          5.2         Loan Objection Deadline
128
           13          5.3         Buyer's Credit Information Deadline
129
130        14          5.3         Disapproval of Buyer's Credit Information Deadline
131        15          5.4         Existing Loan Documents Deadline
132
133        16          5.4         Existing Loan Documents Objection Deadline
134        17          5.4         Loan Transfer Approval Deadline
135
           18          4.7         Seller or Private Financing Deadline
136
137                           Appraisal
138
139
           19          6.2         Appraisal Deadline                                      21 Days After MEC
140        20          6.2         Appraisal Objection Deadline                            22 Days After MEC
141        21          6.2         Appraisal Resolution Deadline                           23 Days After MEC
142
143                           Survey
144        22          9.1         New ILC or New Survey Deadline                          21 Days After MEC
145
146        23          9.3         New ILC or New Survey Objection Deadline                22 Days After MEC
147        24          9.4         New ILC or New Survey Resolution Deadline               23 Days After MEC
148
149                           Inspection and Due Diligence
150        25         10.3         Inspection Objection Deadline                           21 Days After MEC
151
152
           26         10.3         Inspection Resolution Deadline                          23 Days After MEC
153        27         10.5         Property Insurance Objection Deadline                   21 Days After MEC
154        28         10.6         Due Diligence Documents Delivery Deadline               7 Days After MEC
155
156        29         10.6         Due Diligence Documents Objection Deadline              21 Days After MEC
157        30         10.6         Due Diligence Documents Resolution Deadline             23 Days After MEC
158
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159         31            10.6         Environmental Inspection Objection Deadline
160
161         32            10.6         ADA Evaluation Objection Deadline
162         33            10.7         Conditional Sale Deadline
163         34            11.1         Tenant Estoppel Statements Deadline
164
165         35            11.2         Tenant Estoppel Statements Objection Deadline
166                                Closing and Possession
167
168                                                                                         See Addendum A
            36            12.3         Closing Date
169                                                                                               30.4
170
171
            37             17          Possession Date                                        Closing Date
172         38             17          Possession Time                                         At Closing
173         39             28          Acceptance Deadline Date                                10/19/2018           Friday
174
175         40             28          Acceptance Deadline Time                                5:00pm MT
176         41
177
            42
178
179
180             3.1. Applicability of Terms. Any box checked in this Contract means the corresponding provision
181   applies. Any box, blank or line in this Contract left blank or completed with the abbreviation “N/A”, or the word
182
183   “Deleted” means such provision, including any deadline, is not applicable and the corresponding provision of this
184   Contract to which reference is made is deleted. If no box is checked in a provision that contains a selection of
185   “None”, such provision means that “None” applies.
186
187
188
      The abbreviation “MEC” (mutual execution of this Contract) means the date upon which both parties have signed
189   this Contract.
190
191
      4.          PURCHASE PRICE AND TERMS.
192
193              4.1. Price and Terms. The Purchase Price set forth below is payable in U.S. Dollars by Buyer as follows:
194
195
196
           Item No.     Reference        Item                                   Amount              Amount
197            1              4.1        Purchase Price                              $180,000.00
198
199
               2              4.3        Earnest Money                                                      $5,400.00
200            3              4.5        New Loan
201
202            4              4.6        Assumption Balance
203            5              4.7        Private Financing
204
205          6                4.7        Seller Financing
206
             7
207
208          8
209          9                   4.4     Cash at Closing                                                  $174,600.00
210
211          10                          TOTAL                                       $180,000.00          $180,000.00
212
213
214             4.2.      Seller Concession. At Closing, Seller will credit to Buyer $ (Seller Concession). The Seller
215   Concession may be used for any Buyer fee, cost, charge or expenditure to the extent the amount is allowed by the
216   Buyer’s lender and is included in the Closing Statement or Closing Disclosure, at Closing. Examples of allowable
217   items to be paid for by the Seller Concession include, but are not limited to: Buyer’s closing costs, loan discount
218
219   points, loan origination fees, prepaid items and any other fee, cost, charge, expense or expenditure. Seller
220   Concession is in addition to any sum Seller has agreed to pay or credit Buyer elsewhere in this Contract.
221             4.3.       Earnest Money. The Earnest Money set forth in this section, in the form of a check or wire
222
223
      transfer, will be payable to and held by Commonwealth Title of Glenwood Springs (Earnest Money
224   Holder), in its trust account, on behalf of both Seller and Buyer. The Earnest Money deposit must be tendered, by
225   Buyer, with this Contract unless the parties mutually agree to an Alternative Earnest Money Deadline for its
226   payment. The parties authorize delivery of the Earnest Money deposit to the company conducting the Closing
227
      (Closing Company), if any, at or before Closing. In the event Earnest Money Holder has agreed to have interest on
228
229   Earnest Money deposits transferred to a fund established for the purpose of providing affordable housing to
230   Colorado residents, Seller and Buyer acknowledge and agree that any interest accruing on the Earnest Money
231   deposited with the Earnest Money Holder in this transaction will be transferred to such fund.
232                        4.3.1. Alternative Earnest Money Deadline. The deadline for delivering the Earnest Money, if
233
234
      other than at the time of tender of this Contract, is as set forth as the Alternative Earnest Money Deadline.
235                        4.3.2. Return of Earnest Money. If Buyer has a Right to Terminate and timely terminates,
236   Buyer is entitled to the return of Earnest Money as provided in this Contract. If this Contract is terminated as set
237
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238   forth in § 25 and, except as provided in § 24, if the Earnest Money has not already been returned following receipt
239   of a Notice to Terminate, Seller agrees to execute and return to Buyer or Broker working with Buyer, written mutual
240
241   instructions (e.g., Earnest Money Release form), within three days of Seller’s receipt of such form.
242             4.4.       Form of Funds; Time of Payment; Available Funds.
243                        4.4.1. Good Funds. All amounts payable by the parties at Closing, including any loan
244   proceeds, Cash at Closing and closing costs, must be in funds that comply with all applicable Colorado laws,
245
246
      including electronic transfer funds, certified check, savings and loan teller’s check and cashier’s check (Good
247   Funds).
248                       4.4.2. Time of Payment; Available Funds. All funds, including the Purchase Price to be paid
249   by Buyer, must be paid before or at Closing or as otherwise agreed in writing between the parties to allow
250
      disbursement by Closing Company at Closing OR SUCH NONPAYING PARTY WILL BE IN DEFAULT. Buyer
251
252   represents that Buyer, as of the date of this Contract,     Does     Does Not have funds that are immediately
253   verifiable and available in an amount not less than the amount stated as Cash at Closing in 4.1.
254
255
                4.5.       New Loan. (Omitted as inapplicable)
256
257            4.6.      Assumption. (Omitted as inapplicable)
258
259
260            4.7.      Seller or Private Financing. (Omitted as inapplicable)
261
262
263                                              TRANSACTION PROVISIONS
264
265
266
267   5.       FINANCING CONDITIONS AND OBLIGATIONS. (Omitted as inapplicable)
268
269
               5.3.      Credit Information and Buyer’s New Senior Loan. (Omitted as inapplicable)
270
271
272            5.4.      Existing Loan Review. (Omitted as inapplicable)
273
274
275   6.    APPRAISAL PROVISIONS.
276         6.1. Appraisal Definition. An “Appraisal” is an opinion of value prepared by a licensed or certified appraiser,
277
      engaged on behalf of Buyer or Buyer’s lender, to determine the Property’s market value (Appraised Value). The
278
279   Appraisal may also set forth certain lender requirements, replacements, removals or repairs necessary on or to the
280   Property as a condition for the Property to be valued at the Appraised Value.
281         6.2.    Appraisal Condition. The applicable appraisal provision set forth below applies to the respective
282   loan type set forth in § 4.5.3, or if a cash transaction (i.e. no financing), § 6.2.1 applies.
283
284                   6.2.1. Conventional/Other. Buyer has the right to obtain an Appraisal. If the Appraised Value is
285   less than the Purchase Price, or if the Appraisal is not received by Buyer on or before Appraisal Deadline Buyer
286   may, on or before Appraisal Objection Deadline, notwithstanding § 8.3 or § 13:
287                           6.2.1.1. Notice to Terminate. Notify Seller in writing that this Contract is terminated; or
288
289
                              6.2.1.2. Appraisal Objection. Deliver to Seller a written objection accompanied by either a
290   copy of the Appraisal or written notice from lender that confirms the Appraisal Value is less than the Purchase
291   Price.
292                           6.2.1.3. Appraisal Resolution. If an Appraisal Objection is received by Seller, on or before
293
      Appraisal Objection Deadline, and if Buyer and Seller have not agreed in writing to a settlement thereof on or
294
295   before Appraisal Resolution Deadline (§ 3), this Contract will terminate on the Appraisal Resolution Deadline,
296   unless Seller receives Buyer’s written withdrawal of the Appraisal Objection before such termination, i.e., on or
297   before expiration of Appraisal Resolution Deadline.
298          6.3.   Lender Property Requirements. If the lender imposes any requirements, replacements, removals or
299
300   repairs, including any specified in the Appraisal (Lender Requirements) to be made to the Property (e.g., roof
301   repair, repainting), beyond those matters already agreed to by Seller in this Contract, Seller has the Right to
302   Terminate under § 25.1, (notwithstanding § 10 of this Contract), on or before three days following Seller’s receipt
303   of the Lender Requirements, in Seller’s sole subjective discretion. Seller’s Right to Terminate in this § 6.3 does not
304
305
      apply if, on or before any termination by Seller pursuant to this § 6.3: (1) the parties enter into a written agreement
306   regarding the Lender Requirements; or (2) the Lender Requirements have been completed; or (3) the satisfaction
307   of the Lender Requirements is waived in writing by Buyer.
308          6.4. Cost of Appraisal. Cost of the Appraisal to be obtained after the date of this Contract must be timely
309
310   paid by Buyer          Seller. The cost of the Appraisal may include any and all fees paid to the appraiser, appraisal
311   management company, lender’s agent or all three.
312
313
      7.       OWNERS’ ASSOCIATION. This Section is applicable if the Property is located within a Common
314
315   Interest Community and subject to such declaration.
316            7.1. Common Interest Community Disclosure. THE PROPERTY IS LOCATED WITHIN A
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317   COMMON INTEREST COMMUNITY AND IS SUBJECT TO THE DECLARATION FOR THE COMMUNITY. THE
318   OWNER OF THE PROPERTY WILL BE REQUIRED TO BE A MEMBER OF THE OWNERS' ASSOCIATION
319
320   FOR THE COMMUNITY AND WILL BE SUBJECT TO THE BYLAWS AND RULES AND REGULATIONS OF
321   THE ASSOCIATION. THE DECLARATION, BYLAWS, AND RULES AND REGULATIONS WILL IMPOSE
322   FINANCIAL OBLIGATIONS UPON THE OWNER OF THE PROPERTY, INCLUDING AN OBLIGATION TO PAY
323   ASSESSMENTS OF THE ASSOCIATION. IF THE OWNER DOES NOT PAY THESE ASSESSMENTS, THE
324
325
      ASSOCIATION COULD PLACE A LIEN ON THE PROPERTY AND POSSIBLY SELL IT TO PAY THE DEBT.
326   THE DECLARATION, BYLAWS, AND RULES AND REGULATIONS OF THE COMMUNITY MAY PROHIBIT
327   THE OWNER FROM MAKING CHANGES TO THE PROPERTY WITHOUT AN ARCHITECTURAL REVIEW BY
328   THE ASSOCIATION (OR A COMMITTEE OF THE ASSOCIATION) AND THE APPROVAL OF THE
329
      ASSOCIATION. PURCHASERS OF PROPERTY WITHIN THE COMMON INTEREST COMMUNITY SHOULD
330
331   INVESTIGATE THE FINANCIAL OBLIGATIONS OF MEMBERS OF THE ASSOCIATION. PURCHASERS
332   SHOULD CAREFULLY READ THE DECLARATION FOR THE COMMUNITY AND THE BYLAWS AND RULES
333   AND REGULATIONS OF THE ASSOCIATION.
334            7.2.       Owners’ Association Documents. Owners’ Association Documents (Association Documents)
335
336   consist of the following:
337                      7.2.1. All Owners’ Association declarations, articles of incorporation, bylaws, articles of
338   organization, operating agreements, rules and regulations, party wall agreements;
339                      7.2.2. Minutes of most recent annual owners’ meeting;
340
341
                         7.2.3. Minutes of any directors’ or managers’ meetings during the six-month period immediately
342   preceding the date of this Contract. If none of the preceding minutes exist, then the most recent minutes, if any (§§
343   7.2.1, 7.2.2 and 7.2.3, collectively, Governing Documents); and
344                      7.2.4. The most recent financial documents which consist of: (1) annual and most recent
345
      balance sheet, (2) annual and most recent income and expenditures statement, (3) annual budget, (4) reserve
346
347   study, and (5) notice of unpaid assessments, if any (collectively, Financial Documents).
348            7.3. Association Documents to Buyer.
349                   7.3.1. Seller to Provide Association Documents. Seller is obligated to provide to Buyer the
350   Association Documents, at Seller’s expense, on or before Association Documents Deadline. Seller authorizes
351
352   the Association to provide the Association Documents to Buyer, at Seller’s expense. Seller’s obligation to provide
353   the Association Documents is fulfilled upon Buyer’s receipt of the Association Documents, regardless of who
354   provides such documents.
355            7.4. Conditional on Buyer’s Review. Buyer has the right to review the Association Documents. Buyer
356
357
      has the Right to Terminate under § 25.1, on or before Association Documents Objection Deadline, based on
358   any unsatisfactory provision in any of the Association Documents, in Buyer’s sole subjective discretion. Should
359   Buyer receive the Association Documents after Association Documents Deadline, Buyer, at Buyer’s option, has
360   the Right to Terminate under § 25.1 by Buyer’s Notice to Terminate received by Seller on or before ten days after
361
      Buyer’s receipt of the Association Documents. If Buyer does not receive the Association Documents, or if Buyer’s
362
363   Notice to Terminate would otherwise be required to be received by Seller after Closing Date, Buyer’s Notice to
364   Terminate must be received by Seller on or before Closing. If Seller does not receive Buyer’s Notice to Terminate
365   within such time, Buyer accepts the provisions of the Association Documents as satisfactory, and Buyer waives
366   any Right to Terminate under this provision, notwithstanding the provisions of § 8.6 (Right of First Refusal or
367
368   Contract Approval).
369
370   8.        TITLE INSURANCE, RECORD TITLE AND OFF-RECORD TITLE.
371
372             8.1. Evidence of Record Title.
373                    8.1.1. Seller Selects Title Insurance Company. If this box is checked, Seller will select the title
374   insurance company to furnish the owner’s title insurance policy at Seller’s expense. On or before Record Title
375
376
      Deadline, Seller must furnish to Buyer, a current commitment for an owner’s title insurance policy (Title
377   Commitment), in an amount equal to the Purchase Price, or if this box is checked,         an Abstract of Title certified
378   to a current date. Seller will cause the title insurance policy to be issued and delivered to Buyer as soon as
379   practicable at or after Closing.
380
381                    8.1.2. Buyer Selects Title Insurance Company. If this box is checked, Buyer will select the title
382   insurance company to furnish the owner’s title insurance policy at Buyer’s expense. On or before Record Title
383   Deadline, Buyer must furnish to Seller, a current commitment for owner’s title insurance policy (Title Commitment),
384
      in an amount equal to the Purchase Price.
385
386   If neither box in § 8.1.1 or § 8.1.2 is checked, § 8.1.1 applies.
387                    8.1.3. Owner’s Extended Coverage (OEC). The Title Commitment Will                  Will Not contain
388   Owner’s Extended Coverage (OEC). If the Title Commitment is to contain OEC, it will commit to delete or insure
389
390
      over the standard exceptions which relate to: (1) parties in possession, (2) unrecorded easements, (3) survey
391   matters, (4) unrecorded mechanics’ liens, (5) gap period (period between the effective date and time of
392   commitment to the date and time the deed is recorded), and (6) unpaid taxes, assessments and unredeemed tax
393   sales prior to the year of Closing. Any additional premium expense to obtain OEC will be paid by Buyer
394
395    Seller     One-Half by Buyer and One-Half by Seller           Other .
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396   Regardless of whether the Contract requires OEC, the Title Insurance Commitment may not provide OEC or
397   delete or insure over any or all of the standard exceptions for OEC. The Title Insurance Company may require a
398
399   New Survey or New ILC, defined below, among other requirements for OEC. If the Title Insurance Commitment is
400   not satisfactory to Buyer, Buyer has a right to object under § 8.4 (Right to Object to Title, Resolution).
401                      8.1.4. Title Documents. Title Documents consist of the following: (1) copies of any plats,
402   declarations, covenants, conditions and restrictions burdening the Property, and (2) copies of any other documents
403
404
      (or, if illegible, summaries of such documents) listed in the schedule of exceptions (Exceptions) in the Title
405   Commitment furnished to Buyer (collectively, Title Documents).
406                      8.1.5. Copies of Title Documents. Buyer must receive, on or before Record Title Deadline,
407   copies of all Title Documents. This requirement pertains only to documents as shown of record in the office of the
408
      clerk and recorder in the county where the Property is located. The cost of furnishing copies of the documents
409
410   required in this Section will be at the expense of the party or parties obligated to pay for the owner’s title insurance
411   policy.
412                      8.1.6. Existing Abstracts of Title. Seller must deliver to Buyer copies of any abstracts of title
413   covering all or any portion of the Property (Abstract of Title) in Seller’s possession on or before Record Title
414
415   Deadline.
416                8.2. Record Title. Buyer has the right to review and object to the Abstract of Title or Title Commitment
417   and any of the Title Documents as set forth in § 8.4 (Right to Object to Title, Resolution) on or before Record Title
418   Objection Deadline. Buyer’s objection may be based on any unsatisfactory form or content of Title Commitment
419
420
      or Abstract of Title, notwithstanding § 13, or any other unsatisfactory title condition, in Buyer’s sole subjective
421   discretion. If the Abstract of Title, Title Commitment or Title Documents are not received by Buyer on or before the
422   Record Title Deadline, or if there is an endorsement to the Title Commitment that adds a new Exception to title, a
423   copy of the new Exception to title and the modified Title Commitment will be delivered to Buyer. Buyer has until the
424
      earlier of Closing or ten days after receipt of such documents by Buyer to review and object to: (1) any required
425
426   Title Document not timely received by Buyer, (2) any change to the Abstract of Title, Title Commitment or Title
427   Documents, or (3) any endorsement to the Title Commitment. If Seller receives Buyer’s Notice to Terminate or
428   Notice of Title Objection, pursuant to this § 8.2 (Record Title), any title objection by Buyer is governed by the
429   provisions set forth in § 8.4 (Right to Object to Title, Resolution). If Seller has fulfilled all Seller's obligations, if any,
430
431   to deliver to Buyer all documents required by § 8.1 (Evidence of Record Title) and Seller does not receive Buyer’s
432   Notice to Terminate or Notice of Title Objection by the applicable deadline specified above, Buyer accepts the
433   condition of title as disclosed by the Abstract of Title, Title Commitment and Title Documents as satisfactory.
434               8.3. Off-Record Title. Seller must deliver to Buyer, on or before Off-Record Title Deadline, true copies
435
436
      of all existing surveys in Seller’s possession pertaining to the Property and must disclose to Buyer all easements,
437   liens (including, without limitation, governmental improvements approved, but not yet installed) or other title
438   matters (including, without limitation, rights of first refusal and options) not shown by public records, of which Seller
439   has actual knowledge (Off-Record Matters). Buyer has the right to inspect the Property to investigate if any third
440
      party has any right in the Property not shown by public records (e.g., unrecorded easement, boundary line
441
442   discrepancy or water rights). Buyer’s Notice to Terminate or Notice of Title Objection of any unsatisfactory
443   condition (whether disclosed by Seller or revealed by such inspection, notwithstanding § 8.2 and § 13), in Buyer’s
444   sole subjective discretion, must be received by Seller on or before Off-Record Title Objection Deadline. If an Off-
445   Record Matter is received by Buyer after the Off-Record Title Deadline, Buyer has until the earlier of Closing or
446
447   ten days after receipt by Buyer to review and object to such Off-Record Matter. If Seller receives Buyer’s Notice to
448   Terminate or Notice of Title Objection pursuant to this § 8.3 (Off-Record Title), any title objection by Buyer and this
449   Contract are governed by the provisions set forth in § 8.4 (Right to Object to Title, Resolution). If Seller does not
450   receive Buyer’s Notice to Terminate or Notice of Title Objection by the applicable deadline specified above, Buyer
451
452
      accepts title subject to such rights, if any, of third parties of which Buyer has actual knowledge.
453             8.4. Right to Object to Title, Resolution. Buyer’s right to object to any title matters includes, but is not
454   limited to those matters set forth in §§ 8.2 (Record Title), 8.3 (Off-Record Title) and 13 (Transfer of Title), in
455   Buyer’s sole subjective discretion. If Buyer objects to any title matter, on or before the applicable deadline, Buyer
456
      has the following options:
457
458                      8.4.1. Title Objection, Resolution. If Seller receives Buyer’s written notice objecting to any title
459   matter (Notice of Title Objection) on or before the applicable deadline, and if Buyer and Seller have not agreed to a
460   written settlement thereof on or before Title Resolution Deadline, this Contract will terminate on the expiration of
461   Title Resolution Deadline, unless Seller receives Buyer’s written withdrawal of Buyer’s Notice of Title Objection
462
463   (i.e., Buyer’s written notice to waive objection to such items and waives the Right to Terminate for that reason), on
464   or before expiration of Title Resolution Deadline. If either the Record Title Deadline or the Off-Record Title
465   Deadline, or both, are extended to the earlier of Closing or ten days after receipt of the applicable documents by
466   Buyer, pursuant to § 8.2 (Record Title) or § 8.3 (Off-Record Title), the Title Resolution Deadline also will be
467
468
      automatically extended to the earlier of Closing or fifteen days after Buyer’s receipt of the applicable documents; or
469                      8.4.2. Title Objection, Right to Terminate. Buyer may exercise the Right to Terminate under §
470   25.1, on or before the applicable deadline, based on any unsatisfactory title matter, in Buyer’s sole subjective
471   discretion.
472
                8.5. Special Taxing Districts. SPECIAL TAXING DISTRICTS MAY BE SUBJECT TO GENERAL
473
474   OBLIGATION INDEBTEDNESS THAT IS PAID BY REVENUES PRODUCED FROM ANNUAL TAX LEVIES ON
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475   THE TAXABLE PROPERTY WITHIN SUCH DISTRICTS. PROPERTY OWNERS IN SUCH DISTRICTS MAY BE
476   PLACED AT RISK FOR INCREASED MILL LEVIES AND TAX TO SUPPORT THE SERVICING OF SUCH DEBT
477
478   WHERE CIRCUMSTANCES ARISE RESULTING IN THE INABILITY OF SUCH A DISTRICT TO DISCHARGE
479   SUCH INDEBTEDNESS WITHOUT SUCH AN INCREASE IN MILL LEVIES. BUYERS SHOULD INVESTIGATE
480   THE SPECIAL TAXING DISTRICTS IN WHICH THE PROPERTY IS LOCATED BY CONTACTING THE
481   COUNTY TREASURER, BY REVIEWING THE CERTIFICATE OF TAXES DUE FOR THE PROPERTY, AND BY
482
483
      OBTAINING FURTHER INFORMATION FROM THE BOARD OF COUNTY COMMISSIONERS, THE COUNTY
484   CLERK AND RECORDER, OR THE COUNTY ASSESSOR.
485       Buyer has the Right to Terminate under § 25.1, on or before Off-Record Title Objection Deadline, based on
486   any unsatisfactory effect of the Property being located within a special taxing district, in Buyer’s sole subjective
487
      discretion.
488
489            8.6. Right of First Refusal or Contract Approval. If there is a right of first refusal on the Property or a
490   right to approve this Contract, Seller must promptly submit this Contract according to the terms and conditions of
491   such right. If the holder of the right of first refusal exercises such right or the holder of a right to approve
492   disapproves this Contract, this Contract will terminate. If the right of first refusal is waived explicitly or expires, or
493
494   the Contract is approved, this Contract will remain in full force and effect. Seller must promptly notify Buyer in
495   writing of the foregoing. If expiration or waiver of the right of first refusal or approval of this Contract has not
496   occurred on or before Right of First Refusal Deadline, this Contract will then terminate.
497            8.7. Title Advisory. The Title Documents affect the title, ownership and use of the Property and should
498
499
      be reviewed carefully. Additionally, other matters not reflected in the Title Documents may affect the title,
500   ownership and use of the Property, including, without limitation, boundary lines and encroachments, set-back
501   requirements, area, zoning, building code violations, unrecorded easements and claims of easements, leases and
502   other unrecorded agreements, water on or under the Property, and various laws and governmental regulations
503
      concerning land use, development and environmental matters.
504
505                  8.7.1. OIL, GAS, WATER AND MINERAL DISCLOSURE. THE SURFACE ESTATE OF THE
506   PROPERTY MAY BE OWNED SEPARATELY FROM THE UNDERLYING MINERAL ESTATE, AND TRANSFER
507   OF THE SURFACE ESTATE MAY NOT NECESSARILY INCLUDE TRANSFER OF THE MINERAL ESTATE OR
508   WATER RIGHTS. THIRD PARTIES MAY OWN OR LEASE INTERESTS IN OIL, GAS, OTHER MINERALS,
509
510   GEOTHERMAL ENERGY OR WATER ON OR UNDER THE SURFACE OF THE PROPERTY, WHICH
511   INTERESTS MAY GIVE THEM RIGHTS TO ENTER AND USE THE SURFACE OF THE PROPERTY TO
512   ACCESS THE MINERAL ESTATE, OIL, GAS OR WATER.
513                  8.7.2. SURFACE USE AGREEMENT. THE USE OF THE SURFACE ESTATE OF THE
514
515
      PROPERTY TO ACCESS THE OIL, GAS OR MINERALS MAY BE GOVERNED BY A SURFACE USE
516   AGREEMENT, A MEMORANDUM OR OTHER NOTICE OF WHICH MAY BE RECORDED WITH THE COUNTY
517   CLERK AND RECORDER.
518                  8.7.3. OIL AND GAS ACTIVITY. OIL AND GAS ACTIVITY THAT MAY OCCUR ON OR
519
      ADJACENT TO THE PROPERTY MAY INCLUDE, BUT IS NOT LIMITED TO, SURVEYING, DRILLING, WELL
520
521   COMPLETION OPERATIONS, STORAGE, OIL AND GAS, OR PRODUCTION FACILITIES, PRODUCING
522   WELLS, REWORKING OF CURRENT WELLS, AND GAS GATHERING AND PROCESSING FACILITIES.
523                  8.7.4. ADDITIONAL INFORMATION. BUYER IS ENCOURAGED TO SEEK ADDITIONAL
524   INFORMATION REGARDING OIL AND GAS ACTIVITY ON OR ADJACENT TO THE PROPERTY, INCLUDING
525
526   DRILLING PERMIT APPLICATIONS. THIS INFORMATION MAY BE AVAILABLE FROM THE COLORADO OIL
527   AND GAS CONSERVATION COMMISSION.
528                  8.7.5. Title Insurance Exclusions. Matters set forth in this Section, and others, may be excepted,
529   excluded from, or not covered by the owner’s title insurance policy.
530
531
              8.8. Consult an Attorney. Buyer is advised to timely consult legal counsel with respect to all such matters
532   as there are strict time limits provided in this Contract (e.g., Record Title Objection Deadline and Off-Record
533   Title Objection Deadline).
534
535
      9.     NEW ILC, NEW SURVEY.
536
537            9.1. New ILC or New Survey. If the box is checked, a            New Improvement Location Certificate (New
538   ILC)      New Survey in the form of Improvement Survey is required and the following will apply:
539
540                 9.1.1. Ordering of New ILC or New Survey. Seller                Buyer will order the New ILC or New
541   Survey. The New ILC or New Survey may also be a previous ILC or survey that is in the above-required form,
542   certified and updated as of a date after the date of this Contract.
543                 9.1.2. Payment for New ILC or New Survey. The cost of the New ILC or New Survey will be paid, on
544
545   or before Closing, by: Seller          Buyer or:
546                 9.1.3. Delivery of New ILC or New Survey. Buyer, Seller, the issuer of the Title Commitment (or the
547   provider of the opinion of title if an Abstract of Title), and will receive a New ILC or New Survey on or before New
548
549
      ILC or New Survey Deadline.
550                 9.1.4. Certification of New ILC or New Survey. The New ILC or New Survey will be certified by the
551   surveyor to all those who are to receive the New ILC or New Survey.
552           9.2. Buyer’s Right to Waive or Change New ILC or New Survey Selection. Buyer may select a New ILC
553
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554   or New Survey different than initially specified in this Contract if there is no additional cost to Seller or change to
555   the New ILC or New Survey Objection Deadline. Buyer may, in Buyer’s sole subjective discretion, waive a New
556
557   ILC or New Survey if done prior to Seller incurring any cost for the same.
558          9.3. New ILC or New Survey Objection. Buyer has the right to review and object to the New ILC or New
559   Survey. If the New ILC or New Survey is not timely received by Buyer or is unsatisfactory to Buyer, in Buyer’s sole
560   subjective discretion, Buyer may, on or before New ILC or New Survey Objection Deadline, notwithstanding §
561
562
      8.3 or § 13:
563                9.3.1. Notice to Terminate. Notify Seller in writing that this Contract is terminated; or
564                9.3.2. New ILC or New Survey Objection. Deliver to Seller a written description of any matter that was
565   to be shown or is shown in the New ILC or New Survey that is unsatisfactory and that Buyer requires Seller to
566
      correct.
567
568                9.3.3. New ILC or New Survey Resolution. If a New ILC or New Survey Objection is received by
569   Seller, on or before New ILC or New Survey Objection Deadline, and if Buyer and Seller have not agreed in
570   writing to a settlement thereof on or before New ILC or New Survey Resolution Deadline, this Contract will
571   terminate on expiration of the New ILC or New Survey Resolution Deadline, unless Seller receives Buyer’s
572
573   written withdrawal of the New ILC or New Survey Objection before such termination, i.e., on or before expiration of
574   New ILC or New Survey Resolution Deadline.
575
576
577
                                      DISCLOSURE, INSPECTION AND DUE DILIGENCE
578
579   10.     PROPERTY DISCLOSURE, INSPECTION, INDEMNITY, INSURABILITY, DUE DILIGENCE AND
580   SOURCE OF WATER.
581
582
              10.1. Seller’s Property Disclosure. On or before Seller’s Property Disclosure Deadline, Seller agrees
583   to deliver to Buyer the most current version of the applicable Colorado Real Estate Commission’s Seller’s Property
584   Disclosure form completed by Seller to Seller’s actual knowledge, current as of the date of this Contract.
585           10.2. Disclosure of Latent Defects; Present Condition. Seller must disclose to Buyer any latent defects
586
587
      actually known by Seller. Seller agrees that disclosure of latent defects will be in writing. Except as otherwise
588   provided in this Contract, Buyer acknowledges that Seller is conveying the Property to Buyer in an “As Is”
589   condition, “Where Is” and “With All Faults.”
590           10.3. Inspection. Unless otherwise provided in this Contract, Buyer, acting in good faith, has the right to
591   have inspections (by one or more third parties, personally or both) of the Property and Inclusions (Inspection), at
592
593   Buyer’s expense. If (1) the physical condition of the Property, including, but not limited to, the roof, walls, structural
594   integrity of the Property, the electrical, plumbing, HVAC and other mechanical systems of the Property, (2) the
595   physical condition of the Inclusions, (3) service to the Property (including utilities and communication services),
596   systems and components of the Property (e.g., heating and plumbing), (4) any proposed or existing transportation
597
598
      project, road, street or highway, or (5) any other activity, odor or noise (whether on or off the Property) and its
599   effect or expected effect on the Property or its occupants is unsatisfactory, in Buyer’s sole subjective discretion,
600   Buyer may, on or before Inspection Objection Deadline:
601                   10.3.1. Notice to Terminate. Notify Seller in writing that this Contract is terminated; or
602
603
                      10.3.2. Inspection Objection. Deliver to Seller a written description of any unsatisfactory physical
604   condition that Buyer requires Seller to correct.
605                   10.3.3. Inspection Resolution. If an Inspection Objection is received by Seller, on or before
606   Inspection Objection Deadline, and if Buyer and Seller have not agreed in writing to a settlement thereof on or
607   before Inspection Resolution Deadline, this Contract will terminate on Inspection Resolution Deadline unless
608
609   Seller receives Buyer’s written withdrawal of the Inspection Objection before such termination, i.e., on or before
610   expiration of Inspection Resolution Deadline.
611            10.4. Damage, Liens and Indemnity. Buyer, except as otherwise provided in this Contract or other
612   written agreement between the parties, is responsible for payment for all inspections, tests, surveys, engineering
613
614
      reports, or other reports performed at Buyer’s request (Work) and must pay for any damage that occurs to the
615   Property and Inclusions as a result of such Work. Buyer must not permit claims or liens of any kind against the
616   Property for Work performed on the Property. Buyer agrees to indemnify, protect and hold Seller harmless from
617   and against any liability, damage, cost or expense incurred by Seller and caused by any such Work, claim, or lien.
618
619
      This indemnity includes Seller’s right to recover all costs and expenses incurred by Seller to defend against any
620   such liability, damage, cost or expense, or to enforce this section, including Seller’s reasonable attorney fees, legal
621   fees and expenses. The provisions of this section survive the termination of this Contract. This § 10.4 does not
622   apply to items performed pursuant to an Inspection Resolution.
623            10.5. Insurability. Buyer has the right to review and object to the availability, terms and conditions of and
624
625   premium for property insurance (Property Insurance). Buyer has the Right to Terminate under § 25.1, on or before
626   Property Insurance Objection Deadline, based on any unsatisfactory provision of the Property Insurance, in
627   Buyer’s sole subjective discretion.
628            10.6. Due Diligence.
629
630
                       10.6.1. Due Diligence Documents. If the respective box is checked, Seller agrees to deliver
631   copies of the following documents and information pertaining to the Property (Due Diligence Documents) to Buyer
632
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633   on or before Due Diligence Documents Delivery Deadline:
634
635
                               10.6.1.1. All contracts relating to the operation, maintenance and management of the
636   Property;
637                            10.6.1.2. Property tax bills for the last years;
638
639                            10.6.1.3. As-built construction plans to the Property and the tenant improvements,
640   including architectural, electrical, mechanical, and structural systems, engineering reports, and permanent
641   Certificates of Occupancy, to the extent now available;
642
                               10.6.1.4. A list of all Inclusions to be conveyed to Buyer;
643
644                            10.6.1.5. Operating statements for the past years;
645                            10.6.1.6. A rent roll accurate and correct to the date of this Contract;
646
647                            10.6.1.7. All current leases, including any amendments or other occupancy agreements,
648   pertaining to the Property. Those leases or other occupancy agreements pertaining to the Property that survive
649   Closing are as follows (Leases):
650
651                            10.6.1.8. A schedule of any tenant improvement work Seller is obligated to complete but
652   has not yet been completed and capital improvement work either scheduled or in process on the date of this
653   Contract;
654
655
                               10.6.1.9. All insurance policies pertaining to the Property and copies of any claims which
656   have been made for the past years;
657                            10.6.1.10. Soils reports, surveys and engineering reports or data pertaining to the
658
      Property (if not delivered earlier under § 8.3);
659
660                            10.6.1.11. Any and all existing documentation and reports regarding Phase I and II
661   environmental reports, letters, test results, advisories, and similar documents respective to the existence or
662   nonexistence of asbestos, PCB transformers, or other toxic, hazardous or contaminated substances, and/or
663
664
      underground storage tanks and/or radon gas. If no reports are in Seller’s possession or known to Seller, Seller
665   warrants that no such reports are in Seller’s possession or known to Seller;
666                            10.6.1.12. Any Americans with Disabilities Act reports, studies or surveys concerning the
667   compliance of the Property with said Act;
668
669                            10.6.1.13. All permits, licenses and other building or use authorizations issued by any
670   governmental authority with jurisdiction over the Property and written notice of any violation of any such permits,
671   licenses or use authorizations, if any; and
672
673                            10.6.1.14. Other documents and information:
674
675
676                  10.6.2. Due Diligence Documents Review and Objection. Buyer has the right to review and
677
678
      object to Due Diligence Documents. If the Due Diligence Documents are not supplied to Buyer or are
679   unsatisfactory in Buyer’s sole subjective discretion, Buyer may, on or before Due Diligence Documents
680   Objection Deadline:
681                          10.6.2.1. Notice to Terminate. Notify Seller in writing that this Contract is terminated; or
682
                             10.6.2.2. Due Diligence Documents Objection. Deliver to Seller a written description of
683
684   any unsatisfactory Due Diligence Documents that Buyer requires Seller to correct.
685                          10.6.2.3. Due Diligence Documents Resolution. If a Due Diligence Documents Objection
686   is received by Seller, on or before Due Diligence Documents Objection Deadline, and if Buyer and Seller have
687   not agreed in writing to a settlement thereof on or before Due Diligence Documents Resolution Deadline, this
688
689   Contract will terminate on Due Diligence Documents Resolution Deadline unless Seller receives Buyer’s written
690   withdrawal of the Due Diligence Documents Objection before such termination, i.e., on or before expiration of Due
691   Diligence Documents Resolution Deadline.
692                  10.6.3. Zoning. Buyer has the Right to Terminate under § 25.1, on or before Due Diligence
693
694
      Documents Objection Deadline, based on any unsatisfactory zoning and any use restrictions imposed by any
695   governmental agency with jurisdiction over the Property, in Buyer’s sole subjective discretion.
696                  10.6.4. Due Diligence – Environmental, ADA. Buyer has the right to obtain environmental
697   inspections of the Property including Phase I and Phase II Environmental Site Assessments, as applicable.
698
699   Seller Buyer will order or provide Phase I Environmental Site Assessment, Phase II Environmental Site
700   Assessment (compliant with most current version of the applicable ASTM E1527standard practices for
701
      Environmental Site Assessments) and/or        , at the expense of Seller Buyer (Environmental Inspection). In
702
703   addition, Buyer, at Buyer’s expense, may also conduct an evaluation whether the Property complies with the
704   Americans with Disabilities Act (ADA Evaluation). All such inspections and evaluations must be conducted at such
705   times as are mutually agreeable to minimize the interruption of Seller’s and any Seller’s tenants’ business uses of
706   the Property, if any.
707
708
              If Buyer’s Phase I Environmental Site Assessment recommends a Phase II Environmental Site
709   Assessment, the Environmental Inspection Objection Deadline will be extended by days (Extended
710   Environmental Inspection Objection Deadline) and if such Extended Environmental Inspection Objection Deadline
711
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712   extends beyond the Closing Date, the Closing Date will be extended a like period of time. In such event, Seller
713
714      Buyer must pay the cost for such Phase II Environmental Site Assessment.
715           Notwithstanding Buyer's right to obtain additional environmental inspections of the Property in this § 10.6.5,
716   Buyer has the Right to Terminate under § 25.1, on or before Environmental Inspection Objection Deadline, or if
717
      applicable, the Extended Environmental Inspection Objection Deadline, based on any unsatisfactory results of
718
719   Environmental Inspection, in Buyer’s sole subjective discretion.
720           Buyer has the Right to Terminate under § 25.1, on or before ADA Evaluation Objection Deadline, based
721   on any unsatisfactory ADA Evaluation, in Buyer’s sole subjective discretion.
722              10.7. Conditional Upon Sale of Property. This Contract is conditional upon the sale and closing of that
723
724   certain property owned by Buyer and commonly known as . Buyer has the Right to Terminate under § 25.1
725   effective upon Seller's receipt of Buyer’s Notice to Terminate on or before Conditional Sale Deadline if such
726   property is not sold and closed by such deadline. This § 10.7 is for the sole benefit of Buyer. If Seller does not
727   receive Buyer’s Notice to Terminate on or before Conditional Sale Deadline, Buyer waives any Right to
728
729
      Terminate under this provision.
730             10.8. Source of Potable Water (Residential Land and Residential Improvements Only).
731   Buyer Does          Does Not acknowledge receipt of a copy of Seller's Property Disclosure or Source of
732
733   Water Addendum disclosing the source of potable water for the Property.        There is No Well. Buyer Does
734   Does Not acknowledge receipt of a copy of the current well permit.
735   Note to Buyer: SOME WATER PROVIDERS RELY, TO VARYING DEGREES, ON NONRENEWABLE
736   GROUND WATER. YOU MAY WISH TO CONTACT YOUR PROVIDER (OR INVESTIGATE THE DESCRIBED
737
738
      SOURCE) TO DETERMINE THE LONG-TERM SUFFICIENCY OF THE PROVIDER’S WATER SUPPLIES.
739              10.9. Existing Leases; Modification of Existing Leases; New Leases. Seller states that none of the
740   Leases to be assigned to the Buyer at the time of Closing contain any rent concessions, rent reductions or rent
741   abatements except as disclosed in the Lease or other writing received by Buyer. Seller will not amend, alter,
742
      modify, extend or cancel any of the Leases nor will Seller enter into any new leases affecting the Property without
743
744   the prior written consent of Buyer, which consent will not be unreasonably withheld or delayed.
745
746   11.     TENANT ESTOPPEL STATEMENTS.
747           11.1. Tenant Estoppel Statements Conditions. Buyer has the right to review and object to any
748
749   Estoppel Statements. Seller must obtain and deliver to Buyer on or before Tenant Estoppel Statements
750   Deadline, statements in a form and substance reasonably acceptable to Buyer, from each occupant or tenant at
751   the Property (Estoppel Statement) attached to a copy of the Lease stating:
752                  11.1.1. The commencement date of the Lease and scheduled termination date of the Lease;
753
754
                     11.1.2. That said Lease is in full force and effect and that there have been no subsequent
755   modifications or amendments;
756                  11.1.3. The amount of any advance rentals paid, rent concessions given, and deposits paid to
757   Seller;
758
                     11.1.4. The amount of monthly (or other applicable period) rental paid to Seller;
759
760                  11.1.5. That there is no default under the terms of said Lease by landlord or occupant; and
761                  11.1.6. That the Lease to which the Estoppel is attached is a true, correct and complete copy of
762   the Lease demising the premises it describes.
763           11.2. Tenant Estoppel Statements Objection. Buyer has the Right to Terminate under § 25.1, on or
764
765   before Tenant Estoppel Statements Objection Deadline, based on any unsatisfactory Estoppel Statement, in
766   Buyer’s sole subjective discretion, or if Seller fails to deliver the Estoppel Statements on or before Tenant
767   Estoppel Statements Deadline. Buyer also has the unilateral right to waive any unsatisfactory Estoppel
768   Statement.
769
770
771                                                 CLOSING PROVISIONS
772
773
774   12.      CLOSING DOCUMENTS, INSTRUCTIONS AND CLOSING.
775           12.1. Closing Documents and Closing Information. Seller and Buyer will cooperate with the Closing
776   Company to enable the Closing Company to prepare and deliver documents required for Closing to Buyer and
777
778
      Seller and their designees. If Buyer is obtaining a new loan to purchase the Property, Buyer acknowledges Buyer’s
779   lender is required to provide the Closing Company, in a timely manner, all required loan documents and financial
780   information concerning Buyer’s new loan. Buyer and Seller will furnish any additional information and documents
781   required by Closing Company that will be necessary to complete this transaction. Buyer and Seller will sign and
782
      complete all customary or reasonably required documents at or before Closing.
783
784           12.2. Closing Instructions. Colorado Real Estate Commission’s Closing Instructions Are             Are Not
785   executed with this Contract.
786           12.3. Closing. Delivery of deed from Seller to Buyer will be at closing (Closing). Closing will be on the date
787
788
      specified as the Closing Date or by mutual agreement at an earlier date. The hour and place of Closing will be as
789   designated by Buyer, Seller and Title Company.
790
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791           12.4. Disclosure of Settlement Costs. Buyer and Seller acknowledge that costs, quality, and extent of
792   service vary between different settlement service providers (e.g., attorneys, lenders, inspectors and title
793
794   companies).
795
796   13.     TRANSFER OF TITLE. Subject to tender of payment at Closing as required herein and compliance by
797
798
      Buyer with the other terms and provisions hereof, Seller must execute and deliver a good and sufficient Special
799   Warranty deed to Buyer, at Closing, conveying the Property free and clear of all taxes except the general taxes
800   for the year of Closing. Except as provided herein, title will be conveyed free and clear of all liens, including any
801   governmental liens for special improvements installed as of the date of Buyer’s signature hereon, whether
802
803   assessed or not. Title will be conveyed subject to:
804            13.1.     Those specific Exceptions described by reference to recorded documents as reflected in the Title
805   Documents accepted by Buyer in accordance with Record Title,
806            13.2.     Distribution utility easements (including cable TV),
807
808            13.3.     Those specifically described rights of third parties not shown by the public records of which
809   Buyer has actual knowledge and which were accepted by Buyer in accordance with Off-Record Title and New
810   ILC or New Survey,
811
               13.4. Inclusion of the Property within any special taxing district, and
812
813            13.5. Any special assessment if the improvements were not installed as of the date of Buyer’s signature
814   hereon, whether assessed prior to or after Closing, and
815            13.6. Other .
816
817
818   14.       PAYMENT OF ENCUMBRANCES. Any encumbrance required to be paid will be paid at or before
819   Closing from the proceeds of this transaction or from any other source.
820
821
822   15.        CLOSING COSTS, CLOSING FEE, ASSOCIATION FEES AND TAXES.
823             15.1. Closing Costs. Buyer and Seller must pay, in Good Funds, their respective closing costs and
824
825
      all other items required to be paid at Closing, except as otherwise provided herein.
826             15.2. Closing Services Fee. The fee for real estate closing services must be paid at Closing
827   by     Buyer       Seller      One-Half by Buyer and One-Half by Seller
828
829       Other .
830             15.3. Status Letter and Record Change Fees. Any fees incident to the issuance of Association’s
831   statement of assessments (Status Letter) must be paid by None            Buyer       Seller
832
833      One-Half by Buyer and One-Half by Seller. Any record change fee assessed by the Association including, but
834   not limited to, ownership record transfer fees regardless of name or title of such fee (Association’s Record Change
835   Fee) must be paid by None           Buyer        Seller      One-Half by Buyer and One-Half by Seller.
836
837             15.4. Local Transfer Tax.         The Local Transfer Tax of % of the Purchase Price must be paid at
838   Closing by None            Buyer       Seller     One-Half by Buyer and One-Half by Seller.
839
                15.5. Private Transfer Fee. Private transfer fees and other fees due to a transfer of the Property,
840
841   payable at Closing, such as community association fees, developer fees and foundation fees, must be paid at
842   Closing by None Buyer Seller                One-Half by Buyer and One-Half by Seller. The Private Transfer fee,
843   whether one or more, is for the following association(s): in the total amount of na% of the Purchase Price or $ .
844
845             15.6. Water Transfer Fees. The Water Transfer Fees can change. The fees, as of the date of this
846   Contract, do not exceed $ for:
847       Water Stock/Certificates           Water District
848
849       Augmentation Membership             Small Domestic Water Company          and must be paid at Closing by
850   None         Buyer     Seller      One-Half by Buyer and One-Half by Seller
851
                15.7. Sales and Use Tax. Any sales and use tax that may accrue because of this transaction
852
853   must be paid when due by        None      Buyer       Seller    One-Half by Buyer and One-Half by Seller.
854
855
856   16.      PRORATIONS. The following will be prorated to the Closing Date, except as otherwise provided:
857            16.1.      Taxes. Personal property taxes, if any, special taxing district assessments, if any, and general
858   real estate taxes for the year of Closing, based on       Taxes for the Calendar Year Immediately Preceding
859
860   Closing        Most Recent Mill Levy and Most Recent Assessed Valuation,               Other .
861            16.2.      Rents. Rents based on       Rents Actually Received         Accrued. At Closing, Seller will
862   transfer or credit to Buyer the security deposits for all Leases assigned, or any remainder after lawful deductions,
863
864   and notify all tenants in writing of such transfer and of the transferee’s name and address. Seller must assign to
865   Buyer all Leases in effect at Closing and Buyer must assume Seller’s obligations under such Leases.
866            16.3.      Association Assessments. Current regular Association assessments and dues (Association
867   Assessments) paid in advance will be credited to Seller at Closing. Cash reserves held out of the regular
868
869
      Association Assessments for deferred maintenance by the Association will not be credited to Seller except as may
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870   be otherwise provided by the Governing Documents. Buyer acknowledges that Buyer may be obligated to pay the
871   Association, at Closing, an amount for reserves or working capital. Any special assessment assessed prior to
872
873   Closing Date by the Association will be the obligation of Buyer          Seller. Except however, any special
874   assessment by the Association for improvements that have been installed as of the date of Buyer’s signature
875   hereon, whether assessed prior to or after Closing, will be the obligation of Seller. Seller represents that the
876
877
      Association Assessments are currently payable at approximately $ 277.00 per year and that there are no unpaid
878   regular or special assessments against the Property except the current regular assessments and . Such
879   assessments are subject to change as provided in the Governing Documents. Seller agrees to promptly request
880   the Association to deliver to Buyer before Closing Date a current Status Letter.
881
882
               16.4. Other Prorations. Water and sewer charges, propane, interest on continuing loan, and .
883            16.5.    Final Settlement. Unless otherwise agreed in writing, these prorations are final.
884
885   17.    POSSESSION. Possession of the Property will be delivered to Buyer on Possession Date at
886
      Possession Time, subject to the Leases as set forth in § 10.6.1.7.
887
888
889            If Seller, after Closing, fails to deliver possession as specified, Seller will be subject to eviction and will be
890   additionally liable to Buyer for payment of $ 300.00 per day (or any part of a day notwithstanding § 18.1) from
891
      Possession Date and Possession Time until possession is delivered.
892
893
894                                                   GENERAL PROVISIONS
895
896
897   18.       DAY; COMPUTATION OF PERIOD OF DAYS, DEADLINE.
898            18.1. Day. As used in this Contract, the term “day” means the entire day ending at 11:59 p.m., United
899
900
      States Mountain Time (Standard or Daylight Savings as applicable).
901            18.2. Computation of Period of Days, Deadline. In computing a period of days, when the ending date is
902   not specified, the first day is excluded and the last day is included (e.g., three days after MEC). If any deadline falls
903   on a Saturday, Sunday or federal or Colorado state holiday (Holiday), such deadline          Will     Will Not be
904
905
      extended to the next day that is not a Saturday, Sunday or Holiday. Should neither box be checked, the deadline
906   will not be extended.
907
908   19.      CAUSES OF LOSS, INSURANCE; DAMAGE TO INCLUSIONS AND SERVICES; CONDEMNATION;
909
910
      AND WALK-THROUGH. Except as otherwise provided in this Contract, the Property, Inclusions or both will be
911   delivered in the condition existing as of the date of this Contract, ordinary wear and tear excepted.
912           19.1. Causes of Loss, Insurance. In the event the Property or Inclusions are damaged by fire, other
913   perils or causes of loss prior to Closing in an amount of not more than ten percent of the total Purchase Price
914
      (Property Damage), and if the repair of the damage will be paid by insurance (other than the deductible to be paid
915
916   by Seller), then Seller, upon receipt of the insurance proceeds, will use Seller’s reasonable efforts to repair the
917   Property before Closing Date. Buyer has the Right to Terminate under § 25.1, on or before Closing Date if the
918   Property is not repaired before Closing Date or if the damage exceeds such sum. Should Buyer elect to carry out
919   this Contract despite such Property Damage, Buyer is entitled to a credit at Closing for all insurance proceeds that
920
921
      were received by Seller (but not the Association, if any) resulting from damage to the Property and Inclusions, plus
922   the amount of any deductible provided for in the insurance policy. This credit may not exceed the Purchase Price.
923   In the event Seller has not received the insurance proceeds prior to Closing, the parties may agree to extend the
924   Closing Date to have the Property repaired prior to Closing or, at the option of Buyer, (1) Seller must assign to
925
926
      Buyer the right to the proceeds at Closing, if acceptable to Seller’s insurance company and Buyer’s lender; or (2)
927   the parties may enter into a written agreement prepared by the parties or their attorney requiring the Seller to
928   escrow at Closing from Seller’s sale proceeds the amount Seller has received and will receive due to such
929   damage, not exceeding the total Purchase Price, plus the amount of any deductible that applies to the insurance
930   claim.
931
932           19.2. Damage, Inclusions and Services. Should any Inclusion or service (including utilities and
933   communication services), system, component or fixture of the Property (collectively Service) (e.g., heating or
934   plumbing), fail or be damaged between the date of this Contract and Closing or possession, whichever is earlier,
935   then Seller is liable for the repair or replacement of such Inclusion or Service with a unit of similar size, age and
936
937
      quality, or an equivalent credit, but only to the extent that the maintenance or replacement of such Inclusion or
938   Service is not the responsibility of the Association, if any, less any insurance proceeds received by Buyer covering
939   such repair or replacement. If the failed or damaged Inclusion or Service is not repaired or replaced on or before
940   Closing or possession, whichever is earlier, Buyer has the Right to Terminate under § 25.1, on or before Closing
941
942
      Date, or, at the option of Buyer, Buyer is entitled to a credit at Closing for the repair or replacement of such
943   Inclusion or Service. Such credit must not exceed the Purchase Price. If Buyer receives such a credit, Seller's right
944   for any claim against the Association, if any, will survive Closing. Seller and Buyer are aware of the existence of
945   pre-owned home warranty programs that may be purchased and may cover the repair or replacement of such
946   Inclusions.
947
948            19.3. Condemnation. In the event Seller receives actual notice prior to Closing that a pending
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949    condemnation action may result in a taking of all or part of the Property or Inclusions, Seller must promptly notify
950    Buyer, in writing, of such condemnation action. Buyer has the Right to Terminate under § 25.1, on or before
951
952    Closing Date, based on such condemnation action, in Buyer’s sole subjective discretion. Should Buyer elect to
953    consummate this Contract despite such diminution of value to the Property and Inclusions, Buyer is entitled to a
954    credit at Closing for all condemnation proceeds awarded to Seller for the diminution in the value of the Property or
955    Inclusions but such credit will not include relocation benefits or expenses, or exceed the Purchase Price.
956
957
               19.4. Walk-Through and Verification of Condition. Buyer, upon reasonable notice, has the right to
958    walk through the Property prior to Closing to verify that the physical condition of the Property and Inclusions
959    complies with this Contract.
960            19.5. Risk of Loss - Growing Crops. The risk of loss for damage to growing crops by fire or other
961
       casualty will be borne by the party entitled to the growing crops as provided in § 2.8 and such party is entitled to
962
963    such insurance proceeds or benefits for the growing crops.
964
965    20.     RECOMMENDATION OF LEGAL AND TAX COUNSEL. By signing this Contract, Buyer and Seller
966    acknowledge that the respective broker has advised that this Contract has important legal consequences and has
967
968    recommended the examination of title and consultation with legal and tax or other counsel before signing this
969    Contract.
970
971    21.       TIME OF ESSENCE, DEFAULT AND REMEDIES. Time is of the essence for all dates and deadlines in
972
973
       this Contract. This means that all dates and deadlines are strict and absolute. If any payment due, including
974    Earnest Money, is not paid, honored or tendered when due, or if any obligation is not performed timely as provided
975    in this Contract or waived, the non-defaulting party has the following remedies:
976             21.1. If Buyer is in Default:
977
978                     21.1.1. Specific Performance. Seller may elect to cancel this Contract and all Earnest Money
979    (whether or not paid by Buyer) will be paid to Seller and retained by Seller. It is agreed that the Earnest Money is
980    not a penalty, and the Parties agree the amount is fair and reasonable. Seller may recover such additional
981    damages as may be proper. Alternatively, Seller may elect to treat this Contract as being in full force and effect
982
983
       and Seller has the right to specific performance or damages, or both.
984                    21.1.2. Liquidated Damages, Applicable. This § 21.1.2 applies unless the box in § 21.1.1. is
985    checked. Seller may cancel this Contract. All Earnest Money (whether or not paid by Buyer) will be paid to Seller,
986    and retained by Seller. It is agreed that the Earnest Money specified in § 4.1 is LIQUIDATED DAMAGES, and not
987
       a penalty, which amount the parties agree is fair and reasonable and (except as provided in §§ 10.4, 22, 23 and
988
989    24), said payment of Earnest Money is SELLER’S ONLY REMEDY for Buyer’s failure to perform the obligations of
990    this Contract. Seller expressly waives the remedies of specific performance and additional damages.
991              21.2. If Seller is in Default: Buyer may elect to treat this Contract as canceled, in which case all Earnest
992    Money received hereunder will be returned and Buyer may recover such damages as may be proper. Alternatively,
993
994    Buyer may elect to treat this Contract as being in full force and effect and Buyer has the right to specific
995    performance or damages, or both.
996
997    22.     LEGAL FEES, COST AND EXPENSES. Anything to the contrary herein notwithstanding, in the event of
998
999
       any arbitration or litigation relating to this Contract, prior to or after Closing Date, the arbitrator or court must
1000   award to the prevailing party all reasonable costs and expenses, including attorney fees, legal fees and expenses.
1001
1002   23.      MEDIATION. If a dispute arises relating to this Contract, (whether prior to or after Closing) and is not
1003
       resolved, the parties must first proceed, in good faith, to mediation. Mediation is a process in which the parties
1004
1005   meet with an impartial person who helps to resolve the dispute informally and confidentially. Mediators cannot
1006   impose binding decisions. Before any mediated settlement is binding, the parties to the dispute must agree to the
1007   settlement, in writing. The parties will jointly appoint an acceptable mediator and will share equally in the cost of
1008   such mediation. The obligation to mediate, unless otherwise agreed, will terminate if the entire dispute is not
1009
1010   resolved within thirty days of the date written notice requesting mediation is delivered by one party to the other at
1011   that party’s last known address (physical or electronic as provided in § 27). Nothing in this Section prohibits either
1012   party from filing a lawsuit and recording a lis pendens affecting the Property, before or after the date of written
1013   notice requesting mediation. This section will not alter any date in this Contract, unless otherwise agreed.
1014
1015
1016    24.      EARNEST MONEY DISPUTE. Except as otherwise provided herein, Earnest Money Holder must release
1017   the Earnest Money following receipt of written mutual instructions, signed by both Buyer and Seller. In the event of
1018   any controversy regarding the Earnest Money, Earnest Money Holder is not required to release the Earnest
1019
       Money. Earnest Money Holder, in its sole subjective discretion, has several options: (1) wait for any proceeding
1020
1021   between Buyer and Seller; (2) interplead all parties and deposit Earnest Money into a court of competent
1022   jurisdiction, (Earnest Money Holder is entitled to recover court costs and reasonable attorney and legal fees
1023   incurred with such action); or (3) provide notice to Buyer and Seller that unless Earnest Money Holder receives a
1024   copy of the Summons and Complaint or Claim (between Buyer and Seller) containing the case number of the
1025
1026   lawsuit (Lawsuit) within one hundred twenty days of Earnest Money Holder’s notice to the parties, Earnest Money
1027   Holder is authorized to return the Earnest Money to Buyer. In the event Earnest Money Holder does receive a copy
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1028   of the Lawsuit, and has not interpled the monies at the time of any Order, Earnest Money Holder must disburse the
1029   Earnest Money pursuant to the Order of the Court. The parties reaffirm the obligation of Mediation. This Section
1030
1031   will survive cancellation or termination of this Contract.
1032
1033   25.     TERMINATION.
1034          25.1. Right to Terminate. If a party has a right to terminate, as provided in this Contract (Right to
1035
1036
       Terminate), the termination is effective upon the other party’s receipt of a written notice to terminate (Notice to
1037   Terminate), provided such written notice was received on or before the applicable deadline specified in this
1038   Contract. If the Notice to Terminate is not received on or before the specified deadline, the party with the Right to
1039   Terminate accepts the specified matter, document or condition as satisfactory and waives the Right to Terminate
1040
       under such provision.
1041
1042          25.2. Effect of Termination. In the event this Contract is terminated, all Earnest Money received
1043   hereunder will be returned and the parties are relieved of all obligations hereunder, subject to §§ 10.4, 22, 23 and
1044   24.
1045
1046
1047   26.      ENTIRE AGREEMENT, MODIFICATION, SURVIVAL; SUCCESSORS. This Contract, its exhibits and
1048   specified addenda, constitute the entire agreement between the parties relating to the subject hereof, and any prior
1049   agreements pertaining thereto, whether oral or written, have been merged and integrated into this Contract. No
1050   subsequent modification of any of the terms of this Contract is valid, binding upon the parties, or enforceable
1051
1052
       unless made in writing and signed by the parties. Any right or obligation in this Contract that, by its terms, exists or
1053   is intended to be performed after termination or Closing survives the same. Any successor to a Party receives the
1054   predecessor’s benefits and obligations of this Contract.
1055
1056
       27.     NOTICE, DELIVERY, AND CHOICE OF LAW.
1057
1058          27.1. Physical Delivery and Notice. Any document, or notice to Buyer or Seller must be in writing, except
1059   as provided in § 27.2, and is effective when physically received by such party, any individual named in this
1060   Contract to receive documents or notices for such party, the Broker, or Brokerage Firm of Broker working with
1061   such party (except any notice or delivery after Closing must be received by the party, not Broker or Brokerage
1062
1063   Firm).
1064          27.2. Electronic Notice. As an alternative to physical delivery, any notice, may be delivered in electronic
1065   form to Buyer or Seller, any individual named in this Contract to receive documents or notices for such party, the
1066   Broker or Brokerage Firm of Broker working with such party (except any notice or delivery after Closing must be
1067
1068
       received by the party; not Broker or Brokerage Firm) at the electronic address of the recipient by facsimile, email
1069   or .
1070          27.3. Electronic Delivery. Electronic Delivery of documents and notice may be delivered by: (1) email at
1071   the email address of the recipient, (2) a link or access to a website or server provided the recipient receives the
1072
1073
       information necessary to access the documents, or (3) facsimile at the Fax No. of the recipient.
1074          27.4. Choice of Law. This Contract and all disputes arising hereunder are governed by and construed in
1075   accordance with the laws of the State of Colorado that would be applicable to Colorado residents who sign a
1076   contract in Colorado for real property located in Colorado.
1077
1078
1079   28.    NOTICE OF ACCEPTANCE, COUNTERPARTS. This proposal will expire unless accepted in writing, by
1080   Buyer and Seller, as evidenced by their signatures below, and the offering party receives notice of such
1081   acceptance pursuant to § 27 on or before Acceptance Deadline Date and Acceptance Deadline Time. If
1082   accepted, this document will become a contract between Seller and Buyer. A copy of this Contract may be
1083
1084   executed by each party, separately, and when each party has executed a copy thereof, such copies taken together
1085   are deemed to be a full and complete contract between the parties.
1086
1087   29. GOOD FAITH. Buyer and Seller acknowledge that each party has an obligation to act in good faith including,
1088
1089
       but not limited to, exercising the rights and obligations set forth in the provisions of Financing Conditions and
1090   Obligations, Title Insurance, Record Title and Off-Record Title, New ILC, New Survey and Property
1091   Disclosure, Inspection, Indemnity, Insurability, Due Diligence, Buyer Disclosure and Source of Water.
1092
1093
1094                                   ADDITIONAL PROVISIONS AND ATTACHMENTS
1095
1096
       30.    ADDITIONAL PROVISIONS. (The following additional provisions have not been approved by the Colorado
1097
1098   Real Estate Commission.)
1099   A. OPEN SPACE TRUST FUND FEE. As defined in Section 10.14 of the Amended and Restated
1100   Master Declaration of Protective Covenants for River Valley Ranch. At the time of closing,
1101
1102   Purchaser shall pay to the River Valley Ranch Master Association a fee in the amount of one-
1103   quarter of one percent (.0025) of the purchase price for the purposes of acquisition, leasing, or
1104   planning for the acquisition or leasing of public open space, conservation easements,
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1106
       development rights, or other similar measures to protect land in perpetuity from development.
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1109
       B. HOA FEES. In addition to the foregoing budgeted monthly dues Purchaser hereunder shall pay
1110   at the closing hereof: (1) a Reserve Fund Deposit in the amount of $100.00 for each lot to the
1111   Master Association in accordance with paragraph 10.8 of the Master Declaration, and (2) an initial
1112
1113
       $150.00 Master Association Account Set Up Fee. The Seller shall pay at closing a Master
1114   Association Statement Prep Fee of $150.00.
1115
1116

       31.    ATTACHMENTS.
              31.1. The following attachments are a part of this Contract:
       Addendum A

              31.2. The following disclosure forms are attached but are not a part of this Contract:

                                                          SIGNATURES




                                                                              Date: 10/14/2018
       Buyer: Jan Silfverskiold



       [NOTE: If this offer is being countered or rejected, do not sign this document. Refer to        32]




                                                                              Date: 10/15/2018
       Seller: Sachs Bridge Investments LLC
               By: Frederick Chin, CEO


       32.      COUNTER; REJECTION. This offer is       Countered        Rejected.
       Initials only of party (Buyer or Seller) who countered or rejected offer

               _________      _________       _________      _________

                                   END OF CONTRACT TO BUY AND SELL REAL ESTATE


       33.     BROKER’S ACKNOWLEDGMENTS AND COMPENSATION DISCLOSURE.
       (To be completed by Broker working with Buyer)

       Broker      Does       Does Not acknowledge receipt of Earnest Money deposit and, while not a party to the
       Contract, agrees to cooperate upon request with any mediation concluded under § 23. Broker agrees that if
       Brokerage Firm is the Earnest Money Holder and, except as provided in § 24, if the Earnest Money has not
       already been returned following receipt of a Notice to Terminate or other written notice of termination, Earnest
       Money Holder will release the Earnest Money as directed by the written mutual instructions. Such release of
       Earnest Money will be made within five days of Earnest Money Holder’s receipt of the executed written mutual
       instructions, provided the Earnest Money check has cleared.

       Broker is working with Buyer as a   Buyer’s Agent          Seller’s Agent      Transaction-Broker in this
       transaction.   This is a Change of Status.

       Brokerage Firm’s compensation or commission is to be paid by          Listing Brokerage Firm
          Buyer    Other .
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Brokerage Firm's Name: Aspen Snowmass Sotheby`s




                                                     Date: 10/13/2018
Broker’s Name: Laura Gee
Address: 201 Midland Avenue Basalt, CO 81621
Ph: 970-948-8568 Fax: Email: Laura.Gee@SothebysRealty.com; raleigh.vos@sothebysrealty.com


34.     BROKER’S ACKNOWLEDGMENTS AND COMPENSATION DISCLOSURE.
(To be completed by Broker working with Seller)

Broker      Does      Does Not acknowledge receipt of Earnest Money deposit and, while not a party to the
Contract, agrees to cooperate upon request with any mediation concluded under § 23. Broker agrees that if
Brokerage Firm is the Earnest Money Holder and, except as provided in § 24, if the Earnest Money has not
already been returned following receipt of a Notice to Terminate or other written notice of termination, Earnest
Money Holder will release the Earnest Money as directed by the written mutual instructions. Such release of
Earnest Money will be made within five days of Earnest Money Holder’s receipt of the executed written mutual
instructions, provided the Earnest Money check has cleared.

Broker is working with Seller as a  Seller’s Agent       Buyer's Agent       Transaction-Broker in this
transaction.   This is a Change of Status.

Brokerage Firm’s compensation or commission is to be paid by       Seller     Buyer     Other .
Brokerage Firm's Name: Aspen Snowmass Sotheby`s



Broker’s
Name:                                                         Date:   10/13/2018
Address: 201 Midland Avenue Basalt, CO 81621
Ph: 970-948-8568 Fax: Email: Laura.Gee@SothebysRealty.com; raleigh.vos@sothebysrealty.com
CBS4-6-15. CONTRACT TO BUY AND SELL REAL ESTATE (LAND)
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                                        ADDENDUM A
                              To Contract to Buy and Sell Real Estate

This Addendum A to that certain Contract to Buy and Sell Real Estate dated October 13, 2018,
between Jan Silfverskiold, Buyer, and Sachs Bridge Investments, LLC, Seller, for the property
Subdivision: RIVER VALLEY RANCH PH 7 Block: Z Lot: 20, Section: 10, Township: 8, Range: 88
known as 376 Crystal Canyon Drive, Carbondale, CO 81623 (“Contract”) is hereby made a part of the
Contract, as referenced in Section 31.1 of the Contract. In the event of a conflict between this
Addendum and the Contract, this Addendum shall prevail. The Sections indicated below clarify or
amend, as appropriate, the corresponding Section in the Contract.


The following provisions are hereby added as Additional Provisions to Section 30 of the Contract:

§30.1. Proof of Funds. Buyer shall provide verified proof of funds on or before the Alternative
Earnest Money Deadline in an amount not less than the amount stated as Cash at Closing in Paragraph
4.1.

§30.2. Pending Litigation. Seller is a limited liability company wholly owned by Woodbridge Group
of Companies, LLC (“Woodbridge”). Seller and Woodbridge have each filed petitions under chapter
11 of the Bankruptcy Code and there is pending litigation against and/or involving Seller and
Woodbridge, which could affect the Property or Seller’s ability to convey title to the Property or obtain
a release of any deeds of trust encumbering the Property prior to Closing, including Case No. 17-
12560-KJC in the United States Bankruptcy Court for the District of Delaware, as well as Case No.
17-24624-CIV, in the United States District Court, Southern District of Florida.

§30.3. Approval of Bankruptcy Court. Seller is a Debtor in jointly-administered bankruptcy Case
No. 17-12560-KJC in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). This Agreement, including Seller’s obligation to transfer title free and clear of all
liens in Paragraph 13, is expressly contingent upon the Bankruptcy Court’s entry of a final, non-
appealable order approving this Agreement (“Sale Order”) on or prior to Closing, and any
transaction(s) contained herein, including payment or escrow of the brokerage commission as well as
the conveyance of the Property free and clear of all monetary liens and encumbrances. Seller will use
reasonable efforts to file a motion for approval of this Agreement with the Bankruptcy Court promptly
after Buyer has confirmed in writing that all Buyer objection and resolution deadlines or any other
contingency periods have lapsed or have been waived consistent with Paragraph 30.9 below. If the
Sale Order has not been approved by the Bankruptcy Court on or before 180 days after MEC (the
“Sale Order Deadline”), then Buyer may elect to terminate the Contract upon written notice to Seller
at any time after the Sale Order Deadline, with all Earnest Money refunded to Buyer. Unless and until
Buyer exercises the right to terminate as set forth in this Paragraph, the Sale Order Deadline will be
deemed extended, until the earlier of (i) Buyer’s written notice of termination to Seller or (ii) receipt by
Buyer of the Sale Order. Notwithstanding foregoing, if the Bankruptcy Court issues an order denying
the sale of the Property, or if the Sale Order is appealed after approval by any party in the Bankruptcy
Court, then this Contract will automatically terminate upon Seller’s written notice to Buyer of the same
and all Earnest Money will be returned to Buyer.

§30.4. Parties’ Approval of Sale Order. Upon issuance of the Sale Order by the Bankruptcy Court,
Seller will deliver the Sale Order to Buyer. Buyer and Seller will have 3 business days from delivery of
the Sale Order to Buyer to review and approve the Sale Order (“Sale Order Approval Deadline”).
Either party, in its reasonable discretion, may elect to terminate the Contract by written notice to the
other party by the Sale Order Approval Deadline if the Sale Order amends or alters any material term


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or condition of the Contract (e.g., purchase price, or any Schedule B-1 requirement of the Title
Commitment issued by the Title Company) and such amended term or condition imposes an undue
burden on either party as a requirement of closing. If neither party provides the other party with a
notice to terminate by the Sale Order Approval Deadline, the Sale Order will be deemed approved by
both parties. Closing shall occur within five (5) days after the Sale Order becomes final and non-
appealable.

§30.5. Buyer’s Remedies. Paragraph 21.2 shall be deleted and replaced with the following: 21.2. If
Seller is in Default: Buyer may elect to treat this Contract as canceled, in which case all Earnest Money
received hereunder will be returned. Said payment of Earnest Money is Buyer’s Only Remedy for
Seller’s failure to perform the obligations of this Contract. Buyer expressly waives all additional
remedies, including the remedies of specific performance and additional damages.

§30.6. Property and Inclusions Sold "As Is." Buyer is hereby notified that the property is being
sold "As Is" and "With All Faults" based upon Buyer’s own investigation(s). Seller shall neither
undertake any repairs to the property nor make any financial concessions in consideration of any
objections Buyer may have to the physical condition of the property. This provision does not limit
Buyer`s rights under Paragraph 10 of the Contract.

§30.7. Property Disclosures; Reliance. Notwithstanding anything to the contrary in the Contract,
Buyer acknowledges and agrees that Seller will not provide and is under no obligation or duty to
provide any information or disclosures regarding the Property. If any information is provided by Seller
(“Information”), then it is provided by Seller to Buyer “as-is”, without recourse, and with no
representations or warranties of any kind, including without limitation as to the accuracy or
completeness of such documents or information. Buyer cannot rely on the Information unless Buyer
obtains, at Buyer’s expense, reliance letters from any third-party preparers of such information. Not
in limitation of the foregoing, Buyer acknowledges and agrees that Seller shall have no liability, and is
hereby released from all liability, to Buyer and any third party, with respect to the Information,
including without limitation any liability for misrepresentations, misstatements, mistakes, errors, or
other inaccuracies contained in any Information. This Paragraph shall survive Closing and any
termination of this Contract, any other provision hereof to the contrary notwithstanding.

§30.8. Buyer’s Diligence. Buyer warrants and represents to Seller that Buyer is relying solely on
Buyer’s own investigation of the Property and Inclusions and not on any information provided or to
be provided by Seller; Buyer will review and investigate the property and any improvements on it and
Inclusions as Buyer deems necessary and appropriate and will consult such records, outside resources,
consultants and engineers as Buyer deems appropriate; and Buyer’s decision to purchase the Property
and Inclusions will be based solely on that review, investigation, and consultation. If Buyer acquires
the Property and Inclusions, Buyer will be doing so in its then present condition.

§30.9. Buyer’s Confirmation of Completed Diligence. Within 3 days after the expiration of the
final objection and/or resolution deadline, or earlier in Buyer’s discretion, Buyer shall confirm in
writing that all contingencies have expired by providing the following notice to Seller in writing: “Buyer
has conducted its due diligence of all aspects of the Property and Inclusions and is satisfied with the
condition of the same in all respects, and hereby expressly waives any right Buyer currently has, or in
the future may have, to object under any objection deadline or other contingency under the Contract,
including pursuant to Paragraphs 7.4, 8.2, 8.3, 8.4, 9.3, 10.3, 10.5, or 10.6, or any other Right to
Terminate contained within the Contract, except for Buyer’s Right to Terminate pursuant to Additional
Provisions, Paragraphs 30.3 and 30.4 related to the Bankruptcy Court’s approval of Sale Order. Buyer’s
Earnest Money is nonrefundable in all other respects. All other terms of the Contract are hereby
ratified.” Seller has no obligation to file a motion for the Sale Order until Buyer has delivered this
confirmation to Seller.


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§30.10. Attorney Review. This Contract is contingent upon the satisfactory review of the Contract
by the Buyer’s and Seller’s respective attorneys within five (5) business days of MEC. In the event any
of the legal provisions of the Contract are deemed unsatisfactory by either attorney, such attorney shall
provide the other party with written notice of the unsatisfactory provision within a five (5) business
days of MEC. If neither party provides such written notice within such period, this contingency shall
be deemed satisfied. If written notice of an unsatisfactory provision is provided within such period,
and the Buyer and Seller have not executed an amendment to the Contract in mutual resolution of the
unsatisfactory provision within seven (7) business days of complete execution of this Contract, then
this Contract shall be deemed terminated. Upon termination, all earnest monies shall be returned to
Buyer and both parties shall be relieved of all further obligations hereunder.


BUYER:
            Jan Silfverskiold
_____________________________________________________                         Date    10/16/2018
________________________
             Jan Silfverskiold

_____________________________________________________                         Date
________________________

SELLER: Frederick Chin
                                                                                     10/16/2018
_____________________________________________________                         Date
________________________
          Frederick Chin

_____________________________________________________                         Date
________________________

This addendum has not been approved by Colorado Real Estate Commission. It was prepared by
Seller’s legal counsel, Balcomb & Green, P.C. for the sole use of Woodbridge Group of Companies,
LLC.




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